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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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11    ARTHUR O. RAWLINGS,                                CASE NO. 06-CV-01029-H
                                                         (WMC)
12                                    Plaintiff,
            vs.                                          ORDER GRANTING
13                                                       DEFENDANT’S MOTION FOR
                                                         SUMMARY JUDGMENT AND
14    MICHAEL J. ASTRUE,                                 DENYING PLAINTIFF’S
      Commissioner of Social Security                    MOTION FOR SUMMARY
15                                                       JUDGMENT
                                     Defendant.
16
17
           On May 10, 2006, plaintiff Arthur O. Rawlings (“Plaintiff”) filed a complaint
18
     pursuant to section 205(g) of the Social Security Act (the “Act”) requesting judicial
19
     review of the final decision of the Commissioner of the Social Security Administration
20
     (“Commissioner” or “Defendant”) regarding the denial of Plaintiff’s claim for disability
21
     insurance benefits. (Doc. No. 1.) On July 20, 2007, Plaintiff filed a motion for
22
     summary judgment regarding his § 205(g) claim. (Doc. No. 16.) On August 22, 2007,
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     Defendant filed a cross-motion for summary judgment and opposition to Plaintiff’s
24
     motion for summary judgment. (Doc. No. 19.) On September 7, 2007, Plaintiff filed
25
     a reply brief. (Doc. No. 20.)
26
           The Court exercises its discretion to decide this matter on the papers pursuant to
27
     Civil Local Rule 7.1(d)(1). For the following reasons, the Court GRANTS Defendant’s
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     motion for summary judgment and DENIES Plaintiff’s motion for summary judgment.

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 1                                         Background
 2         On December 10, 2002, Plaintiff filed an initial application for Social Security
 3   Disability Insurance Benefits. (Tr. 118-20.) Plaintiff alleged a disability onset date of
 4   October 2, 2002, due to low back pain, a herniated disc, and arthritis in both knees. (Tr.
 5   148.) On April 28, 2003, Plaintiff alleged that he also suffered from rashes. (Tr. 169.)
 6   Plaintiff was denied initially and upon reconsideration by the Social Security
 7   Administration (“Administration”). (Tr. 34-37, 40-43) Plaintiff subsequently filed a
 8   request for a hearing on August 15, 2003. (Tr. 16.)
 9         At the time of the hearing, Plaintiff was sixty-three years old. (Tr. 17.) The
10   Administrative Law Judge (“ALJ”) concluded that Plaintiff had past relevant work
11   experience as a security guard, surveillance system monitor, mechanic, laborer,
12   industrial truck operator, and inventory clerk. (Tr. 22-23.) At the hearing, Plaintiff
13   amended the onset date of his disability from October 2, 2002 until December 8, 2002,
14   and reported that he worked until the latter date. (Tr. 17.)
15         Based on the hearing, the ALJ concluded that Plaintiff had not engaged in
16   substantial gainful activity since December 8, 2002, had “severe” impairments of
17   bilateral osteoarthritis of the knees, degenerative disc disease/osteoarthritis of the
18   lumbar spine, and bilateral sacroiliac osteoarthritis, but that Plaintiff’s impairments,
19   either singly or in combination, did not meet or equal an impairment listed in Appendix
20   1 to Subpart P of Social Security Regulation number 4, 20 C.F.R. pt. 404, subpt. P, app.
21   1. (Tr. 18, 21-22.) The ALJ subsequently found that Plaintiff retained the physical
22   residual functional capacity to lift/carry ten pounds occasionally, lift/carry less than ten
23   pounds frequently, stand/walk for two hours with the use of a cane, and sit for six hours
24   in an eight hour workday. (Tr. 21-22.) Finally, the ALJ found that based on Plaintiff’s
25   residual functional capacity, he could perform work as a surveillance system monitor
26   as generally performed in the national economy since his amended alleged disability
27   date, and was therefore not disabled as defined by the Act. (Tr. 25.) The decision
28   became final when the Administration Appeals Council adopted the ALJ’s findings in

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 1   a decision dated April 10, 2006. (Tr.3-5.)
 2                                         Discussion
 3   I.    Legal Standards Regarding Review of Denial of Disability Claim
 4         Section 205(g) of the Act allows unsuccessful applicants to seek judicial review
 5   of a final agency decision of the Commissioner. See 42 U.S.C. § 405(g). Section
 6   205(g) provides that a District Court has the power to enter a judgment affirming,
 7   modifying, or reversing the decision of the Commissioner, with or without remanding
 8   the case for rehearing. See id. The Commissioner’s denial of benefits “will be
 9   disturbed only if it is not supported by substantial evidence or is based on legal error.”
10   Brawner v. Sec’y of Health and Human Serv., 839 F.2d 432, 433 (9th Cir. 1988).
11   “Evidence can be ‘substantial’ if it is more than a scintilla, even though less than a
12   preponderance.” Holohan v. Massanari, 246 F.3d 1195, 1201 (9th Cir. 2001). The
13   court must consider the record as a whole, weighing both the evidence that supports and
14   detracts from the Commissioner’s conclusions. See id. If the evidence can support an
15   outcome for either the Commissioner or the claimant, a reviewing court may not
16   substitute its judgment for that of the ALJ. See id. Even if the reviewing court finds
17   that substantial evidence supports the Commissioner’s decision, however, the court
18   must set aside the decision if the ALJ failed to apply the proper legal standards in
19   weighing the evidence and reaching his decision. See Benitez v. Califano, 573 F.2d
20   653, 655 (9th Cir. 1978).
21         Under the Act, in order to qualify for disability benefits, an applicant must
22   demonstrate that: (a) the claimant suffers from a medically determinable physical or
23   mental impairment that can be expected to result in death or that has lasted or can be
24   expected to last for a continuous period of not less than twelve months; and (b) the
25   impairment renders the claimant incapable of performing the work that the claimant
26   previously performed and incapable of performing any other substantial gainful
27   employment that exists in the national economy. See Tackett v. Apfel, 180 F.3d 1094,
28   1098 (9th Cir. 1999) (citing 42 U.S.C. § 423(d)(2)(A)). “If a claimant meets both

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 1   requirements, he or she is ‘disabled.’” Id.
 2         The Social Security Regulations set out a five-step sequential process for
 3   determining whether a claimant is disabled within the meaning of the Act. See id.
 4   (citing 20 C.F.R. § 404.1520). The Ninth Circuit has summarized this process:
 5         The burden of proof is on the claimant as to steps one to four. As to step
 6         five, the burden shifts to the Commissioner. If a claimant is found to be
 7         “disabled” or “not disabled” at any step in the sequence, there is no need
 8         to consider subsequent steps.
 9         The five steps are:
10         Step 1. Is the claimant presently working in a substantially gainful
11         activity? If so, then the claimant is “not disabled” within the meaning of
12         the Social Security Act and is not entitled to disability insurance benefits.
13         If the claimant is not working in a substantially gainful activity, then the
14         claimant’s case cannot be resolved at step one and the evaluation proceeds
15         to step two. See 20 C.F.R. § 404.1520(b).
16         Step 2. Is the claimant’s impairment severe? If not, then the claimant is
17         “not disabled” and is not entitled to disability insurance benefits. If the
18         claimant’s impairment is severe, then the claimant’s case cannot be
19         resolved at step two and the evaluation proceeds to step three. See 20
20         C.F.R. § 404.1520(c).
21         Step 3. Does the impairment “meet or equal” one of a list of specific
22         impairments described in the regulations? If so, the claimant is “disabled”
23         and therefore entitled to disability insurance benefits. If the claimant’s
24         impairment neither meets nor equals one of the impairments listed in the
25         regulations, then the claimant’s case cannot be resolved at step three and
26         the evaluation proceeds to step four. See 20 C.F.R. § 404.1520(d).
27         Step 4. Is the claimant able to do any work that he or she has done in the
28         past? If so, then the claimant is “not disabled” and is not entitled to

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 1         disability insurance benefits. If the claimant cannot do any work he or she
 2         did in the past, then the claimant’s case cannot be resolved at step four and
 3         the evaluation proceeds to the fifth and final step.        See 20 C.F.R.
 4         § 404.1520(e).
 5         Step 5. Is the claimant able to do any other work? If not, then the
 6         claimant is “disabled” and therefore entitled to disability insurance
 7         benefits. See 20 C.F.R. § 404.1520(f)(1). If the claimant is able to do
 8         other work, then the Commissioner must establish that there are a
 9         significant number of jobs in the national economy that claimant can do.
10         There are two ways for the Commissioner to meet the burden of showing
11         that there is other work in “significant numbers” in the national economy
12         that claimant can do: (1) by the testimony of a vocational expert, or (2) by
13         reference to the Medical-Vocational Guidelines at 20 C.F.R. pt. 404,
14         subpt. P, app. 2. If the Commissioner meets this burden, the claimant is
15         “not disabled” and therefore not entitled to disability insurance benefits.
16         See 20 C.F.R. §§ 404.1520(f), 404.1562. If the Commissioner cannot
17         meet this burden, then the claimant is “disabled” and therefore entitled to
18         disability benefits. See id.
19   Tackett, 180 F.3d at 1098-99.
20         An ALJ has “a duty to fully and fairly develop the record to assure that the
21   claimant’s interests are considered.” Tonapetyan v. Halter, 242 F.3d 1144, 1150 (9th
22   Cir. 1998). Ambiguous evidence or an inadequate record to allow for the proper
23   evaluation of the evidence triggers the ALJ’s duty to “conduct a proper inquiry.” See
24   id. (quoting Smolen v. Chater, 80 F.3d 1273, 1279 (9th Cir. 1996)). Such proper
25   inquiry may be conducted in several ways, including: subpoenaing the claimant’s
26   physicians, submitting questions to the claimant’s physicians, continuing the hearing,
27   or keeping the record open after the hearing to allow supplementation of the record. Id.;
28   Smolen, 80 F.3d at 1288; Tidwell v. Apfel, 161 F.3d 599, 602 (9th Cir. 1998).

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 1         The decision whether to reverse and remand for further administrative
 2   proceedings, or to reverse and award benefits, is within the discretion of the court. See
 3   Harman v. Apfel, 211 F.3d 1172, 1178 (9th Cir. 2000). Remand is appropriate “where
 4   additional administrative proceedings could remedy defects.” Bilby v. Schweiker, 762
 5   F.2d 716, 719 (9th Cir. 1985); Kail v. Heckler, 722 F.2d 1496, 1497 (9th Cir. 1984).
 6   When the evidence is inconclusive, questions of credibility and resolution of conflicts
 7   in the testimony are functions solely of the Commissioner. See Sample v. Schweiker,
 8   694 F.2d 639, 642 (9th Cir. 1982).
 9   II.   Surveillance System Monitor
10         Plaintiff argues, relying on Valencia v. Heckler, 751 F.2d 1082 (9th Cir. 1985),
11   that the ALJ’s conclusion that Plaintiff had past relevant work experience as a
12   surveillance system monitor was based on legal error and was not supported by
13   substantial evidence, and therefore the ALJ’s conclusion that Plaintiff is not disabled
14   should be reversed. In Valencia, the Ninth Circuit held that an agricultural laborer
15   claimant could not properly be regarded as having performed the “past relevant work”
16   of a tomato sorter when sorting tomatoes was only one of many tasks she performed at
17   various farms at which she was employed, despite the fact that during one six-week
18   period during the two years she spent as an agricultural laborer, she spent the majority
19   of her time sorting tomatoes. See id. at 1086. “Every occupation consists of a myriad
20   of tasks,” and “[t]o classify a disability claimant’s ‘past relevant work’ according to the
21   least demanding function of the claimant’s past occupations is contrary to the letter and
22   spirit of the Social Security Act.” Id.
23         The ALJ in this case did not, however, classify Plaintiff’s “past relevant work”
24   based on only one of a myriad of tasks Plaintiff performed in one of his past
25   occupations, but rather reasonably concluded, based in part on the opinion of a
26   vocational expert (“VE”), that Plaintiff’s past relevant work included work as a
27   surveillance system monitor while working at American Protective Service (“APS”).
28   (Tr. 22-24.) Plaintiff testified that while working at APS, he sat in a booth and

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 1   monitored surveillance cameras and “made a couple of rounds on doors.” (Tr. 311-12.)
 2   He further testified that he spent approximately equal amounts of time sitting and
 3   standing/walking while working at APS, that when checking doors he had to turn a key,
 4   and that his duties were limited to observing monitors and checking doors at APS. (Tr.
 5   319-20.)
 6         The VE testified at the hearing before the ALJ that although Plaintiff’s job as
 7   actually performed at APS involved aspects of both a security guard and a surveillance
 8   system monitor, as defined by the Dictionary of Occupational Titles, it was her opinion
 9   that Plaintiff’s job at APS would best be categorized as a surveillance system monitor.
10   (Tr. 334.) She further testified in response to a number of hypotheticals posed by the
11   ALJ that an individual with the limitations the ALJ later concluded the Plaintiff suffered
12   from could perform the functions of a surveillance system monitor as customarily
13   performed in the national economy, although not as actually performed by Plaintiff.
14   (Tr. 330-31, 334-35.) The Court concludes that the ALJ’s decision that Plaintiff’s past
15   relevant work included work as a surveillance system monitor based on the totality of
16   the evidence, including Plaintiff’s and the VE’s testimony, is supported by substantial
17   evidence and does not violate Valencia. Furthermore, the Court concludes that the
18   record supports the ALJ’s conclusion that Plaintiff is not disabled as defined by the Act,
19   and therefore not entitled to disability insurance benefits. Accordingly, the Court grants
20   Defendant’s motion for summary judgment and denies Plaintiff’s motion for summary
21   judgment.
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 1                                     Conclusion
 2         For the reasons discussed, the Court GRANTS Defendant’s motion for summary
 3   judgment and DENIES Plaintiff’s motion for summary judgment.
 4         IT IS SO ORDERED.
 5   DATED: September 7, 2007
 6                                        _______________________________
                                          MARILYN L. HUFF, District Judge
 7                                        UNITED STATES DISTRICT COURT
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     COPIES TO:
 9   All parties of record.
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